Case 2:21-mc-00043-DMG-MRW Documenté6 Filed 01/29/21 Pagei1of1 Page ID #:110

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

 

Case No. Misc. 21-43 DMG (MRWx) Date January 29, 2021
Title United States v. SpaceX
Present: Hon. Michael R. Wilner, U.S. Magistrate Judge

Veronica Piper n/a

Deputy Clerk Court Reporter / Recorder

Attorneys for Petitioner: Attorneys for Respondent:
n/a n/a
Proceedings: ORDER RE: VIDEO STATUS CONFERENCE
1. The government filed an application for a district court order compelling

SpaceX to comply with an administrative subpoena. (Docket # 1.) District Judge Gee
referred the application to Magistrate Judge Wilner for preliminary consideration.

(Docket # 4.)

2: The government is directed to promptly serve SpaceX (presumably through
Messrs. Connolly and DiPiero at the Akin Gump firm) with the moving papers, the Court’s
procedural orders, and this order by e-mail.

3. Judge Wilner would value a discussion and planning session with the lawyers
before setting a briefing schedule on the application. Based on my preliminary review of
SpaceX’s petition to modify the subpoena and the ALJ’s decision, a topic that likely will
come up in this district court is how SpaceX plans to prove that compliance with the
subpoena would be unduly burdensome for the company. Id like to explore that topic (and
probably others) with the parties before formal briefing begins. Additionally, if both
parties wish to discuss other potential ways to resolve the action short of full-on litigation,
I'd be willing to talk about that too.

4. So, the matter will be set for a video conference on Monday, February 8, at
10 a.m. PT. The Clerk will send a separate e-mail with call-in instructions as that date
approaches. (OK to jointly request a different date and time if there are availability
problems.)

5: To level the research playing field, the parties are directed to my recent
analysis in an analogous (although clearly distinguishable) subpoena enforcement action.
EEOC v. Nationwide Janitorial Services, Inc., No. Misc. 18-96 ODW (MRWx), 2018 WL
4563053 (C.D. Cal. 2018).

 

CV-90 (10/08) CIVIL MINUTES - GENERAL Page 1 of 1
